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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND


VELMA M. MELTON,

       Plaintiff,

       v.                                                 Civil Action No. TDC-19-0209

SELECT PORTFOLIO SERVICING, INC.,
STERLING, INC.
dba Jared-Galleria of Jewelry,
PRESTIGE FINANCIAL SERVICES, INC.,
EXPERIAN INFORMATION SOLUTIONS, ,
INC.,
EQUIFAX INFORMATION SERVICES, LLC
and
TRANS UNION, LLC,

       Defendants.



                                    SCHEDULING ORDER

        This Scheduling Order is entered pursuant to Local Rule 103.9. The Order establishes
deadlines and requirements for pretrial proceedings, including discovery.      Discovery shall
commence as to all parties upon the issuance of this Order, with the exception of Sterling, Inc.,
whose Motion to Dismiss remains pending.

        Any inquiries concerning the schedule should be directed to Chambers, not to the   Clerk's
Office. As set forth below, any party who believes that any deadline or requirement set    forth in
this Scheduling Order should be modified for this case may submit to the Court a written   request
for a modification of the Order by the deadline set in Section II. Once the Court rules     on that
request, the schedule will not be changed except for good cause.

I.     COMPLIANCE WITH LOCAL RULES AND CM/ECF PROCEDURES

        The Court requires compliance         with all Local Rules,   which   can be found       at
http://www .mdd. uscourts.gov Ilocal-rules.

      Parties represented by counsel are required to file electronically through the Court's Case
Management/Electronic    Case Filing (CM/ECF) system. \ Elec. Case Filing Policies and

\ Self-represented parties who are not registered users of CM/ECFare not required to file
documents electronically and may instead submit documents by mail or in person.      See
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Procedures Manual (D. Md. Dec. 2016), http://www.mdd.uscourts.gov/sites/mdd/files/CMECF
ProceduresManua1.pdf. Parties must use the electronic filing system to file documents with the
Clerk and to send case-related correspondence to Chambers. When a party electronically files a
document that, including attachments, is 15 pages or longer, the party must also provide paper
copies of the document and the notice of electronic filing. Id. ~ IIl(B)(4). The paper copies
should be sent to the Clerk's Office.

II.    DEADLINES

       The following motions or reports must be filed, or actions taken, by the listed date:

       April 24, 2019                   Requests for Modifications      of the Scheduling
                                        Order, see Part III

       May 30,2019                      Motions to amend the pleadings or for joinder of
                                        additional parties

       June 14,2019                     Plaintiffs Rule 26(a)(2) expert disclosures

       July 15, 2019                    Defendant's Rule 26(a)(2) expert disclosures

       July 29,2019                     Plaintiffs    rebuttal   Rule    26(a)(2)     expert
                                        disclosures

       August 5, 2019                   Rule 26(e)(2) supplementation of disclosures and
                                        responses

       August 28, 2019                  Completion of Discovery; submission of Post-
                                        Discovery Joint Status Report, see Part V

       September 4,2019                 Requests for admission

       September 11, 2019               Notice of Intent to File a Pretrial Dispositive
                                        Motion, see Case Management Order Part ILA


III.   MODIFICATIONS

       A Rule 16 Case Management Conference will not be scheduled at this time, as the
matters to be discussed were addressed during the March 15, 2019 Case Management
Conference. If the parties seek any modifications to the deadlines, default deposition hour limit,


Instructions for Filing a Civil Action on Your Own Behalf IleA) (D. Md. Dec. 2016),
http://www .mdd. uscourts.gov/ sites/mdd/files/InstructionsFilingCivilAction. pdf.
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or other provisions of the Scheduling Order, they must notify the Court of that request by filing a
joint status report by April 24, 2019, as noted above. In such a report, the parties may request a
Case Management Conference. Requests to modify the Scheduling Order must be accompanied
by proposed new deadlines, deposition hour limits, or other amendments; a comparison of the
proposed deadlines, deposition hour limits, or other amendments to the original terms; and an
explanation of why the modification is needed.

IV.      DISCOVERY

      A. Initial Disclosures

         This is an action in which Rule 26(a)(1) disclosures need not be made.

      B. Discovery Conference

        This action is exempted from the requirements of the first sentence of Rule 26( d) and
from Rule 26(t), such that the parties may, as ofthe date ofthis order, commence with discovery.
However, parties are expected to: (a) identify the issues subject to discovery, (b) set a discovery
plan, (c) determine if the case can be resolved before incurring further litigation expense, and (d)
establish a cordial professional relationship.

      C. Discovery Procedures

         All the provisions of Local Rule 104 apply, including the following:

          1. All discovery requests must be served in time to assure that they are answered before
             the discovery deadline. An extension of the deadline will not be granted because of
             unanswered discovery requests that have not come due.

         2. The existence of a discovery dispute as to one matter does not justify delay in taking
            any other discovery. The filing of a motion to compel or a motion for a protective
            order will not result in a general extension of the discovery deadline.

         3. No discovery materials, including Rule 26(a)(2) disclosures, should be filed with the
            Court.

         4. Any motion to compel shall be filed only after counsel have conferred and filed a
            certificate as required by Local Rule 104.7 and shall be filed in accordance with
            Local Rule 104.8 and applicable CM/ECF procedures.

          5. Parties should be familiar with the Discovery Guidelines of this Court, contained in
             Appendix A to the Local Rules. Appendix D contains guidelines for form discovery
             requests and confidentiality orders.


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   D. Deposition Hours

        Absent a request to increase or decrease deposition hours, each side shall be limited to 25
hours of depositions of fact witnesses, including parties. If there are two or more parties on a
particular side, they must share the allotted deposition time unless the Court rules otherwise upon
a request from those parties. Any colloquy engaged in by counsel shall be counted against the
deposition time of that counsel's client.

   E. Confidential    Information

         If the parties seek to limit disclosure of confidential information, any proposed protective
order must be submitted to the Court for approval and must be consistent with Local Rule
104.13, Local Rule 105.11, and the following requirements. The parties are advised that the
Court will not seal a brief, filing, exhibit, or deposition transcript in its entirety on the grounds
that it contains confidential information. Accordingly, any party filing a document containing
confidential information must file (l) a redacted version, not under seal, in which only
confidential information is redacted; and (2) an unredacted version for the Court's use,
accompanied by a motion to seal, in which the redacted material is marked but legible, such as
through shading or highlighting. Redactions must be as limited as possible. The Court will deny
a motion to seal if the redactions are not limited to specific information that the Court deems
confidential.

   F. Additional Requirements

       During the course of discovery, the parties shall adhere to the following requirements:

        1. Cooperation.     As set forth in Local Rule Appendix A: Discovery Guidelines,
           Guideline 1, the parties and counsel have an obligation to cooperate in planning and
           conducting discovery to ensure that discovery is relevant to the claims or defenses in
           the case, not excessively burdensome, and proportional to what is at issue in the case.
           See Fed. R. Civ. P. 26(b)(2)(C) and 26(g)(l)(B)(ii)-(iii).

       2. Objections Stated with Particularity.       Objections to interrogatories or requests for
          production must be stated with particularity. Boilerplate objections (e.g., objections
          without a particularized basis, such as "overbroad, irrelevant, burdensome, not
          reasonably calculated to identify admissible evidence"), as well as incomplete or
          evasive answers, will be treated as a failure to answer pursuant to Rule 37(a)(4).

       3. Electronically-Stored    Information (ESI). If either or both parties intend to take
          discovery of ESI, counsel should review the Suggested Principles for the Discovery
          of Electronically Stored Information. The Principles, prepared by a joint bench/bar
          committee,      is available    at http://www.mdd.uscourts.gov/sites/mdd/files/ESI-
          Principles.pdf.   The parties are expected to cooperate in determining the search
          technology, methodology, and criteria to be employed, and the custodians whose files
          are to be searched, to comply with discovery requests for ESI.
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       4. Non-Waiver of Attorney-Client Privilege or Work-Product Protection.             The
          parties are expected to discuss a non-waiver agreement pursuant to Federal Rule of
          Evidence 502( e) and to promptly notify opposing counsel of any unintended
          disclosures. If the parties enter into such an agreement, the Court may, pursuant to
          Federal Rule of Evidence 502(d), order that unintended disclosures do not waive the
          privilege or protection in proceedings in this case and any other federal or state
          proceeding.


V.     POST-DISCOVERY         JOINT STATUS REPORT

        On the day of the deadline for Completion of Discovery, see Part II, the parties shall file
a Post-Discovery Joint Status Report covering the following matters:

       1. Whether discovery has been completed.

       2. Whether any motions are pending.

       3. Whether any party intends to file a dispositive pretrial motion.

       4. Whether the case is to be a jury trial or a non-jury trial and the anticipated length of
          trial.

       5. A certification that the parties have met to conduct serious settlement negotiations, to
          include the date, time, and place of all settlement meetings and the names of all
          persons participating.

       6. Whether the parties would agree to have the case referred to a Magistrate Judge for a
          mediation session, either before or after the resolution of any dispositive pretrial
          motion.

       7. Whether all parties consent, pursuant to 28 U.S.C. S 636(c), to have a United States
          Magistrate Judge conduct all further proceedings in this case, either before or after the
          resolution of any dispositive pretrial motion, including trial (jury or non-jury) and
          entry of final judgment.

       8. Any other matter that the parties believe should be brought to the Court's attention.

VI.    PRETRIAL DISPOSITIVE MOTIONS

       If more than one party intends to file a summary judgment motion, the provisions of
Local Rule I05.2(c) apply.

        After all dispositive motions and any responses have been filed, the Court will advise the
parties if a hearing is to be scheduled.
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VII.     PRETRIAL CONFERENCES

         After receiving the Post-Discovery Joint Status Report, the Court will schedule an Initial
Pretrial Conference, unless the Post-Discovery Joint Status Report indicates that one or more
party intends to file a dispositive pretrial motion. In the latter event, the Court will not schedule
the Initial Pretrial Conference until after it has ruled upon the motion (or the dispositive pretrial
motion deadline passes without the anticipated motion being filed).

         At the Initial Pretrial Conference, the Court will:

         1. Set a deadline for submitting the pretrial order pursuant to Local Rule 106, motions in
            limine, proposed voir dire questions, and proposed jury instructions.

         2. Set the Final Pretrial Conference date and a trial date.

         3. Inquire whether a settlement conference with a Magistrate Judge would be useful.
            Counsel are expected to confer with their clients about this matter before the Initial
            Pretrial Conference so they can respond to this inquiry.

VIII.    ATTORNEY'S FEES

        In any case where attorneys' fees may be sought by the prevailing party, counsel must be
familiar with Local Rule 109.2 and Local Rule Appendix B: Rules and Guidelines for
Determining Attorneys' Fees in Certain Cases.

IX.      COMPLIANCE WITH PRIVACY PROTECTION RULE

        Counsel are reminded that the Federal Rules of Civil Procedure were amended, effective
December 1, 2007, with the addition of a new Rule 5.2, which has detailed requirements
requiring the redaction of filings with this Court that contain an individual's social security
number, tax payer identification number, or birth date; the name of an individual known to be a
minor; or a financial account number. It is essential that counsel comply with this rule and with
the revised version of the Judicial Conference Privacy Policy adopted in March 2008,
http://www .uscourts.gov /rules-policies/judiciary-policies/privacy- policy-electronic-case- files.




Date:~




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